Case 1:25-cv-00766-JEB   Document 108-2   Filed 05/01/25   Page 1 of 5




                          Exhibit B
       Case 1:25-cv-00766-JEB           Document 108-2         Filed 05/01/25     Page 2 of 5




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                  BROWNSVILLE DIVISION


J.A.V., et al.,

                         Petitioner.


        v.                                                     Civil Action No. 1:25-cv-072



DONALD J. TRUMP, et al.,

                         Respondents.




                  DECLARATION OF ASSISTANT FIELD OFFICE DIRECTOR
        Pursuant to the authority of 28 U.S.C. § 1746, I, Carlos D. Cisneros, an Assistant Field
Office Director for U.S. Department of Homeland Security (DHS), United States Immigration
and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), Harlingen,
Texas (TX) declare as follows:
        1.       I am an Assistant Field Office Director (“AFOD”) for U.S. Department of
Homeland Security, United States Immigration and Customs Enforcement, Enforcement and
Removal Operations (“ICE ERO Harlingen”). I began my employment with ICE (Legacy
Immigration and Naturalization Service) on January 18, 200, and I have been serving as the
AFOD for ICE ERO Harlingen since August 28, 2022.
        2.       In my role as AFOD, I oversee ERO enforcement operations for the Harlingen
Office. As an AFOD, I am responsible for the supervision of deportation officers managing
detained cases in Harlingen, Texas. I am also responsible for overseeing the safety, security and
care of individuals in my custody.
        3.       While preparing this declaration, I have examined the official records available to
me regarding the Alien Enemies Act (AEA) notice procedure. I submit this declaration to outline
      Case 1:25-cv-00766-JEB           Document 108-2        Filed 05/01/25     Page 3 of 5




the notice procedure and to inform the court about why a description of the procedure should be
kept under seal.
A.     The Notice
       4.      Attached as an exhibit to this declaration is a copy of Form AEA-21B, which ICE
officers serve on aliens whom the Agency intends to detain or remove pursuant to the AEA.
       5.      ICE acknowledges that the Form AEA-21B is written in the English language;
however, this does not mean that aliens do not receive the process due them. ICE officers are
accustomed to working with aliens who do not understand English.
       6.      Through an ICE-wide contract with a language assistance vendor (i.e. language
lines), ICE uses professional oral interpretation and translation services that cover more than 200
languages, including rare and Indigenous languages. Enforcement and Removal Operations
(ERO) serves as the Contracting Officer Representative for this ICE-wide language services
contract. Centralizing oversight over the contract allows better coordination with the vendor and
the establishment of processes for obtaining regular reports. Additionally, many ERO staff have
sufficient proficiency in one or more languages other than English and communicate with limited
English proficiency (LEP) persons in their primary language when appropriate.
       7.      Pursuant to ICE detention standards, oral interpretation or assistance is provided
to any detained alien who is illiterate or who speaks another language in which written material
has not been translated.
       8.      The various ICE Detention Standards under which detention facilities operate
require that information be provided to LEP persons in a language or manner they can
understand throughout the detention process to provide them with meaningful access to programs
and services. This may be accomplished through use of bilingual staff or professional
interpretation and translation services. Depending on the type of facility and contract
specifications, the contractor may have and use their own dedicated language line.
B.     Habeas Components to the Process
       9.      The alien is served individually with a copy of the Notice, Form AEA 21-B, the
notice is read to the alien in a language that he or she understands.
       10.     As part of the notice procedure, the alien is informed that he or she can make a
telephone call to whomever he or she desires, including legal representatives. ICE ensures that
telephones are made available for the aliens and that the aliens have access to the telephone lines.
      Case 1:25-cv-00766-JEB           Document 108-2         Filed 05/01/25       Page 4 of 5




       11.     Generally, the alien is provided at least 12 hours after receiving the AEA notice,
including the ability to make a telephone call, before he or she is placed on a plane for removal.
In general, if after 12 hours, the alien has not expressed any intent to file a habeas petition,
removal can proceed. Otherwise, if the alien expresses an intent to file a habeas petition, ICE
will allow 24 hours after the alien makes this selection, to file a habeas petition before
proceeding with removal.
       12.     ICE will not remove an alien under the AEA, even if a Temporary Restraining
Order is not yet entered, until the habeas petition is resolved.
C.     Justification for Sealing the Description of the Notice Procedure
       13.     The internal notice procedure outlined in this declaration should be filed and
remain under seal because this process is law enforcement sensitive. In this circumstance,
revealing our notice procedure would disclose to the public guidelines that are integral to
conducting law enforcement investigations and could risk circumvention of the law.



Signed this _______ day of April 2025.
                                                        CARLOS D Digitally   signed by
                                                                    CARLOS D CISNEROS JR

                                                        CISNEROS JR Date: 2025.04.22
                                                                    20:58:47 -05'00'


                                                       Carlos D. Cisneros
                                                       Assistant Field Office Director
                                                       Enforcement and Removal Operations
                                                       U.S. Immigration and Customs Enforcement
          Case 1:25-cv-00766-JEB          Document 108-2           Filed 05/01/25         Page 5 of 5



                        NOTICE AND WARRANT OF APPREHENSION AND REMOVAL
                                   UNDER THE ALIEN ENEMIES ACT

A-File No:
          - - - - - - - - - - - - - - - - - - - - - Date:- - - - - - - -
In the Matter of:
                  -----------------------------
Date of Birth: _ _ _ _ _ _ __                          Sex:         Male              Female

Warrant of Apprehension and Removal

To any authorized law enforcement officer:
The President has found that Tren de Aragua is perpetrating, attempting, or threatening an invasion or
predatory incursion against the territory of the United States, and that Tren de Aragua members are thus
Alien Enemies removable under Title 50, United States Code, Section 21.

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ has been determined to be: (1) at least fourteen years of
          (Full Name of Alien Enemy)
age; (2) not a citizen or lawful permanent resident of the United States; (3) a citizen of Venezuela; and (4)
a member ofTren de Aragua. Accordingly, he or she has been determined to be an Alien Enemy and, under
Title 50, United States Code, Section 21, he or she shall be apprehended, restrained, and removed from the
United States pursuant to this Warrant of Apprehension and Removal.
        Signature of Supervisory Officer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        Title of Officer:                                                          Date: - - - - - - -
                            -----------------
Notice to Alien Enemy
I am a law enforcement officer authorized to apprehend, restrain, and remove Alien Enemies. You have
been determined to be at least fourteen years of age; not a citizen or lawful permanent resident of the United
States; a citizen of Venezuela; and a member of Tren de Aragua. Accordingly, under the Alien Enemies
Act, you have been determined to be an Alien Enemy subject to apprehension, restraint, and removal from
the United States. Until you are removed from the United States, you will be detained under Title 50, United
States Code, Section 21. Any statement you make now or while you are in custody may be used against you
in any administrative or criminal proceeding. This is not a removal under the Immigration and Nationality
Act. If you desire to make a phone call, you will be permitted to do so.
After being removed from the United States, you must request and obtain permission from the Secretary of
Homeland Security to enter or attempt to enter the United States at any time. Should you enter or attempt
to enter the United States without receiving such permission, you will be subject to immediate removal and
may be subject to criminal prosecution and imprisonment.

Signature of alien: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             Date: - - - - - - -

                                     CERTIFICATE OF SERVICE
I personally served a copy of this Notice and Warrant upon the above-named person on _·_ _ _ _ __
and ensured it was read to this person in a language he or she understands.               (Date)


Name of officer/agent                                 Signature of officer/agent

                                                                                               Form AEA-21B
